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UN|TED STATES D|STR|CT COURT mm
WESTERN DlSTR|CT OF TENNESSEE BY *'
ME|V|PH|S DlVlSlON

UN|TED STATES OF AMER|CA

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_v_ 03-20334-01-Ma viii U::i-" DS?F;HS

PRlSClLLA McNEAL
MM.M
Defense Attorney
200 Jefferson Avenue, Suite 200
Memphis, Tennessee 38103

 

AMENDED* JUDGMENT lN A CRIMINAL CASE

AFTER RE-SENTENC|NG
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 of the indictment on January 27, 2004.
According|y, the court has adjudicated that the defendant is guilty of the following offense(s)

Date Count
Title & Section M Offense Number(s)
Concl ed
18 u.s.o. § 2113(3) sank Fiobbery 09/02/2003 1

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Fleform Act of 1984 and the |V|andatory
Victims F{estitution Act of 1996.

lT lS FURTHER ORDERED that the defendant shall notify the United States Attorney for
this district within 30 days of any change of name, residence, or mailing address until all
fines, restitution, costs and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of Fie-lmposition of Sentence:
Defendant’s Date of Birth: 12/19/1964 August 23, 2005
Deft’s U.S. Nlarshal No.: 19157-076

Defendant’s Residence Address:
4123 Aux-Arms, Lexington Apartments, Apt. 3
Memphis, TN 38128

j/¢M/WL.__

SAMUEL H. MAYS, JR.
UN|TED STATES D|STR|CT JUDGE

This doci_ment entered on the docket she in complian
with ante 55 and/or aarv) FHch on _§_.7£

 

August 1°‘ ,2005

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Case No: 03-20334-01-Ma
Defendant Name: Priscilla McNeal Page 2 of 4

lMPR|SONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of sixty-three (63) months.

The Court recommends to the Bureau of Prisons:

That defendant be designated to serve her term of imprisonment at a facility where
she can receive mental health treatment and counseling and medical treatment

The defendant is remanded to the custody of the United States Nlarshal.

RETURN

i have executed this judgment as foilows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment
UN|TED STATES NlAFtSi-iAL
By:

 

Deputy U.S. Marsha|

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Case No: 03-20334-01-Ma _
Defendant Name: Priscilla McNeal Page 3 of 4

SUPERV|SED RELEASE

Upon release from imprisonment the defendant shall be on supervised release for
a term of two (2) years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

While on supervised release, the defendant shall not commit another federal, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave the judicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons',

5. The defendant shall notify the probation officer ten (10) days prior to any change in residence or
employment
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally sold, used,
distributed, or administered;

B. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

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Defendant Name: Priscilla |VlcNeal Page 4 of 4

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant’s criminal record or personal history or characteristics and shall permit
the probation officer to make such notifications and to confirm the defendants compliance with such
notification requirementl

13. |f this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Criminal Monetary Penalties sheet of this judgment

ADD|T|ONAL COND|T|ONS OF SUPEF{V|SED FlELEASE

The defendant shall also comply with the following additional conditions of supervised release:

1. The defendant shall participate as directed in a program of mental health treatment approved by the
Probation Officer. Further, the defendant shall be required to contribute to the costs cf services for
such treatment not to exceed an amount determined reasonable by the Probation Officer based on
ability to pay or availability of third party payment and in conformance with the Probation Office’s
Sliding Scale for Mental Health Treatment Services.

2. *The defendant shall cooperate in the collection of DNA as directed by the Probetion Officer.

CRIM|NAL MONETARY PENALT|ES

The defendant shall pay the following total criminal monetary penalties in accordance with
the schedule of payments set forth in the Schedu|e of Payments. The defendant shall pay interest
on any fine or restitution of more than $2,500, unless the fine or restitution is paid in full before the
fifteenth day after the date of judgment, pursuant to 18 U.S.C. § 3612(f). Al| of the payment
options in the Schedule of Payments may be subject to penalties for default and delinquency
pursuant to 18 U.S.C. § 3612(g).

Tota| Assessment Total Fine Tgtal Restitution
$100.00

 

The Special Assessment shall be due immediately

FlNE
No fine imposed

REST|TUT|ON
No Restitution was ordered.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 46 in
case 2:03-CR-20334 Was distributed by faX, mail, or direct printing on
September 2, 2005 to the parties listed.

 

 

Tony R. Arvin

U.S. ATTORNEY'S OFFICE
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Ste. 800

i\/lemphis7 TN 38103

Mary Catherine Jermann
FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

i\/lemphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

